       CASE 0:04-cr-00002-JNE-JGL          Doc. 116     Filed 09/26/08      Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                             Criminal No. 04-2(2) JNE/JGL


UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )       ORDER
              v.                           )
                                           )
DERRICK JOHN HUSHMAN,                      )
                                           )
                     Defendant.            )


       Derrick John Hushman has moved, pursuant to 18 U.S.C. § 3582(c), for a sentencing

reduction under the revised and retroactive amendments to the United States Sentencing

Guidelines applicable to crack cocaine cases. It is hereby ORDERED that Mr. Hushman’s

motion is granted. His sentence is amended to seventy-eight (78) months.




Date: September 26, 2008                           s/ Joan N. Ericksen
                                                   Judge Joan N. Ericksen
                                                   United States District Court
                                                   District of Minnesota
